        Case 2:17-cr-00110-APG-DJA            Document 84      Filed 02/26/18      Page 1 of 1



 1
 2
 3
 4                                UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                Case No. 2:17-cr-110-APG-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   LARRY ANTHONY MCDANIEL,                   )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          This matter is before the Court on Defendant’s Motion to Modify Conditions of Release
14   (ECF No. 81), filed on February 15, 2018. The Government filed its Non-Opposition (ECF No. 83)
15   on February 26, 2018.
16          Defendant requests that the location monitoring condition, including GPS monitoring, be
17   removed as a conditions of his release. Defendant has been compliant with his release conditions
18   and has been reporting as directed. The Government represents that it conferred with Pretrial
19   Services and does not oppose Defendant’s request. The Court finds good cause to remove the
20   location monitoring condition, including GPS monitoring, from the order setting Defendant’s
21   conditions of pretrial release. Accordingly,
22          IT IS HEREBY ORDERED that Defendant’s Motion to Modify Conditions of Release
23   (ECF No. 81) is granted.
24          DATED this 26th day of February, 2018.
25
26                                                  ______________________________________
                                                    GEORGE FOLEY, JR.
27                                                  United States Magistrate Judge
28
